
889 A.2d 43 (2005)
Christine WALTER and Sharon King, On Behalf of Themselves and All Other Similarly Situated Individuals, Petitioners
v.
MAGEE WOMENS HOSPITAL OF UPMC HEALTH SYSTEM, University of Pittsburgh Medical Center Health System, Trevor A. Macpherson and George Michalopoulos, Respondents.
Supreme Court of Pennsylvania.
December 13, 2005.

ORDER
PER CURIAM.
AND NOW, this 13th day of December, 2005, we GRANT the Petition for Allowance *44 of Appeal LIMITED to the following issues:
a. Did the Superior Court misapprehend the facts and the law and consequently err in concluding that petitioners failed to state a cause of action under Pennsylvania law for medical monitoring?
b. Did Petitioners and the proposed class of tens of thousands of women suffer legal injury sufficient to confer standing, where, because of Respondents' negligence in administering medical tests, Petitioners were required to incur the costs of remedial testing?
Chief Justice CAPPY did not participate in the consideration or decision of this matter.
